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  5
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  7
                         UNITED STATES DISTRICT COURT
  8                     CENTRAL DISTRICT OF CALIFORNIA
  9
 10   JEFFREY A. DRUMM                               Civil Action No.   8:16-cv-1840
 11
                          Plaintiff,
 12                                                  COMPLAINT FOR VIOLATION OF FAIR
 13               v.                                 CREDIT REPORTING ACT
 14   EXPERIAN INFORMATION                           DEMAND FOR JURY TRIAL
 15   SOLUTIONS, INC.
 16                       Defendant.
 17
 18                                            I.
 19                              PRELIMINARY STATEMENT
 20         1.    This is an action for damages brought by an individual consumer
 21   against the Defendant for violations of the Fair Credit Reporting Act (hereafter the
 22   “FCRA”), 15 U.S.C. §§ 1681 et seq., as amended.
 23                                            II.
 24                                    JURISDICTION AND VENUE
 25         2.    Jurisdiction of this Court arises under 15 U.S.C. § 1681p, 28 U.S.C.
 26   §§ 1331 and 1337.
 27
                                                     1
                                                     COMPLAINT AND JURY DEMAND
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  1         3.     Venue lies properly in this district pursuant to 28 U.S.C. § 1391(b).
  2                                           III.
  3                                       PARTIES
  4         4.     Plaintiff Jeffrey A. Drumm is an adult individual who resides in
  5   Arizona.
  6         5.     Defendant Experian Information Solutions, Inc. is a business entity
  7   that regularly conducts business in the Central District of California, and which
  8   has its headquarters and principal place of business located at 475 Anton
  9   Boulevard, Costa Mesa, California 92626.
 10                                           IV.
 11                                 FACTUAL ALLEGATIONS
 12         6.     Defendant has been reporting derogatory and inaccurate statements
 13   and information relating to Plaintiff and Plaintiff’s credit history to third parties
 14   (hereafter the “inaccurate information”) from at least September 2016 through the
 15   present.
 16         7.     The inaccurate information includes, but is not limited to, Navy
 17   Federal Credit Union, Nissan-Infiniti LT, USAA Federal Savings Bank, Wells
 18   Fargo Card Services, and other personal information.
 19         8.     The inaccurate information negatively reflects upon the Plaintiff,
 20   Plaintiff’s credit repayment history, Plaintiff’s financial responsibility as a debtor
 21   and Plaintiff’s credit worthiness. The inaccurate information consists of accounts
 22   and/or tradelines that do not belong to the Plaintiff, and that actually belong to
 23   another consumer. Due to Defendant’s faulty procedures, Defendant mixed the
 24   credit file of Plaintiff and that of another consumer with respect to the inaccurate
 25   information and other personal identifying information.
 26         9.     Defendant has been reporting the inaccurate information through the
 27   issuance of false and inaccurate credit information and consumer credit reports
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                                                 COMPLAINT AND JURY DEMAND
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  1   that it has disseminated to various persons and credit grantors, both known and
  2   unknown. Defendant has repeatedly published and disseminated consumer reports
  3   to such third parties from at least September 2016 through the present.
  4          10.    Plaintiff’s credit reports and file have been obtained from Defendant
  5   and have been reviewed by prospective and existing credit grantors and extenders
  6   of credit, and the inaccurate information has been a substantial factor in
  7   precluding Plaintiff from receiving credit offers and opportunities, known and
  8   unknown. Plaintiff’s credit reports have been obtained from Defendant by such
  9   third parties from at least September 2016 through the present.
 10          11.    As a result of Defendant’s conduct, Plaintiff has suffered actual
 11   damages in the form of credit denial or loss of credit opportunity, credit
 12   defamation and emotional distress, including anxiety, frustration, embarrassment
 13   and humiliation.
 14          12.    At all times pertinent hereto, Defendant was acting by and through its
 15   agents, servants and/or employees who were acting within the course and scope of
 16   their agency or employment, and under the direct supervision and control of the
 17   Defendant herein.
 18          13.    At all times pertinent hereto, the conduct of the Defendant, as well as
 19   that of its agents, servants and/or employees, was malicious, intentional, willful,
 20   reckless, and in grossly negligent disregard for federal and state laws and the
 21   rights of the Plaintiff herein.
 22                                           V.
 23                                      CLAIM FOR RELIEF
 24                                      Violation of FCRA
 25          14.    Plaintiff incorporates the foregoing paragraphs as though the same
 26   were set forth at length herein.
 27
                                                   3
                                                   COMPLAINT AND JURY DEMAND
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  1         15.      At all times pertinent hereto, Defendant was a “person” and
  2   “consumer reporting agency” as those terms are defined by 15 U.S.C. § 1681a(b)
  3   and (f).
  4         16.      At all times pertinent hereto, the Plaintiff was a “consumer” as that
  5   term is defined by 15 U.S.C. § 1681a(c).
  6         17.      At all times pertinent hereto, the above-mentioned credit reports were
  7   “consumer reports” as that term is defined by 15 U.S.C. § 1681a(d).
  8         18.      Pursuant to 15 U.S.C. §1681n and 15 U.S.C. §1681o, Defendant is
  9   liable to the Plaintiff for willfully and negligently failing to comply with the
 10   requirements imposed on a consumer reporting agency of information pursuant to
 11   15 U.S.C. § 1681e(b).
 12         19.      The conduct of Defendant was a direct and proximate cause, as well
 13   as a substantial factor, in bringing about the serious injuries, actual damages and
 14   harm to the Plaintiff that are outlined more fully above and, as a result, Defendant
 15   is liable to the Plaintiff for the full amount of statutory, actual and punitive
 16   damages, along with the attorneys’ fees and the costs of litigation, as well as such
 17   further relief, as may be permitted by law.
 18                                              VI.
 19                                    JURY TRIAL DEMAND
 20         20.      Plaintiff demands trial by jury on all issues.
 21                                              VII.

 22                                     PRAYER FOR RELIEF
 23
 24              WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor and damages
 25   against the Defendant, based on the following requested relief:
 26                  (a)   Actual damages;
 27                  (b)   Statutory damages;
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                                                   COMPLAINT AND JURY DEMAND
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  1              (c)   Punitive damages;
  2              (d)   Costs and reasonable attorney's fees pursuant to 15 U.S.C. §§
  3   1681n and 1681o; and
  4              (e)   Such other and further relief as may be necessary, just and
  5   proper.
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  7
      Dated: October 4, 2016                Respectfully submitted,
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